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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

     MATTHEW WRIGHT,                      :
                                          :
                Plaintiff,                :
                                          :
          vs.                             :       Civil Action No. 4:20-cv-454-KGB
                                          :
     TYLER TECHNOLOGIES, INC.,            :
                                          :
                Defendant.
                                          :

                 PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS
                 PURSUANT TO 29 U.S.C. § 216(B) AND BRIEF IN SUPPORT

 Pursuant to 29 U.S.C. § 216(b), Plaintiff Matthew Wright hereby moves this Court

 for the award of (1) attorney’s fees in the amount of $19,372.20 in fees and (2) costs

 in the amount of $523.00 in this FLSA action.

1.       PRELIMINARY STATEMENT/PROCEDURAL HISTORY

        Plaintiff filed this FLSA action against Defendant on February 24, 2020, in the

 Northern District of Georgia alleging violations of the overtime pay provisions of

 the FLSA by his employer, Tyler Technologies, Inc. [Dkt. 1] Plaintiff was employed

 by Defendant as an implementation consultant and alleges that he was improperly

 classified as exempt and denied overtime wages.

        Defendant filed a Motion to Dismiss on March 24, 2020. The Georgia District

 Court ruled against Defendant as to its request to dismiss, but with Plaintiff’s consent


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granted the alternative relief of transfer to this Court. [Dkt. 19, 20] After the case

was transferred, Plaintiff retained Joshua Sanford and Courtney Lowery as local

counsel. [Dkt. 22, 23] Defendant filed its answer alleging, inter alia, that Plaintiff

was an exempt administrative employee. Dkt. 31, Defenses ¶ 2.

     Plaintiff served written discovery responses on Defendant on September 11,

2020, and written discovery requests on Defendant on November 2, 2020. Counsel

conferred on several occasions regarding the scheduling of depositions—and in fact

Plaintiff engaged in significant preparation for his deposition—but depositions were

ultimately avoided due to settlement.

     Plaintiff alleged in his First Amended Initial Disclosures that he was entitled to

recover approximately $2,729.46 in back wages and an equal amount if liquidated

damages for a total of $5,458.92, exclusive of fees and costs. The Parties engaged in

settlement negotiations but were unable to reach an agreement. On November 18,

2020, Defendant made an offer of judgment for $4,500 plus reasonable attorney’s

fees and costs. [Dkt. 41-1] Plaintiff accepted the offer of judgment on December 1,

2020 [Dkt. 41].

     To pursue his claim against Defendant, Plaintiff Wright obtained experienced

counsel, who took the case agreeing to advance all costs of litigation and to hold

Plaintiff harmless in the event of non-recovery. Plaintiff pursued this case diligently,

making appropriate litigation decisions as the case progressed, and earned a


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 favorable judgment. An award of fees in the amount of $21,738.42 plus costs in the

 amount of $523.00 is appropriate.

2.        ARGUMENT AND CITATIONS OF AUTHORITY

     A.      Plaintiff Is A Prevailing Party Entitled To An Award Of His
             Reasonable Attorney’s Fees And Costs Pursuant to 29 U.S.C. §216(b)
     Under the FLSA, an award of reasonable attorney’s fees and costs to the

 prevailing party is mandatory. 29 U.S.C. § 216(b) (“The court in such action shall,

 in addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable

 attorney's fee to be paid by the defendant, and costs of the action.”); Fegley v.

 Higgins, 19 F.3d 1126, 1134 (6th Cir. 1994) (“An award of attorney fees to a

 prevailing plaintiff under § 216(b) of the FLSA is mandatory, but the amount of the

 award is within the discretion of the judge.”). Congress enacted the fee-shifting

 provision of the FLSA “to insure effective access to the judicial process by providing

 attorney fees for prevailing Plaintiff with wage and hour grievances.” Fegley, 19

 F.3d at 1134; see also 29 U.S.C. § 202 (LEXIS 2015) (stating intent to protect

 workers).

     The fee-shifting provision of the FLSA serves two purposes. First, it relieves the

 government of the burden and expense of enforcing the Act by incentivizing private

 attorneys to pursue wage claims. Quaratino v. Tiffany & Co., 166 F.3d 422, 426 (2d

 Cir. 1999) (“Congress enacted fee-shifting statutes to compensate ‘private attorneys

 general’ and thereby to encourage private enforcement of civil rights statutes, to the

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benefit of the public as a whole.”). Second, it encourages private litigants to sue for

their rights even when the expected monetary recovery is otherwise “too small to

attract effective legal representation.” Id.; see also City of Riverside v. Rivera, 477

U.S. 561, 578 (1986) (explaining that discouraging civil rights litigants with

meritorious claims but small damages from bringing suit “is totally inconsistent with

Congress’ purpose”); Simpson v. Merchants & Planters Bank, 441 F.3d 572, 581

(8th Cir. 2006) (“tying the attorney’s fees to the amount awarded would discourage

litigants with small amounts of damages from pursuing a civil rights claim in court”).

In keeping with those purposes, “[a]n attorney fees award under a fee-shifting statute

should be comparable to what is traditionally paid to attorneys who are compensated

by a fee-paying client.” Morales v. Farmland Foods, Inc., No. 8:08CV504, 2013

U.S. Dist. LEXIS 56501, at *27 (D. Neb. Apr. 18, 2013).

    Here, Plaintiff’s counsel has both used prudent billing judgment and has

obtained positive results for their client. All of the work performed was necessary to

obtain those results. This Court should, therefore, award Plaintiff his full Attorney’s

fees and costs.

   B.     Determination of a Reasonable Fee

   Courts determine a reasonable fee with a two-step process. First, the court

evaluates the fee petition of a prevailing party and calculates the “lodestar;” second,

the court determines whether the lodestar calculation should be adjusted upward or


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downward, based on various factors, discussed more fully below. Hensley v.

Eckerhart, 461 U.S. 424, 433–34 (1983). The “lodestar” is “the product of the

number of hours reasonably expended on the litigation and the reasonable hourly

rate at which those hours should be billed.” West v. Border Foods, Inc., 2007 U.S.

Dist. LEXIS 43423, 6 (D. Minn. 6/8/2007) (citing Hensley, 461 U.S. at 433).

“Reasonably expended” time is supported by “adequate documentation supporting

the number of hours claimed.” Gay v. Saline County, 2006 U.S. Dist. LEXIS 76852,

5–6 (E.D. Ark. 10/20/2006). The reasonable hourly rate is “the prevailing rate for

similar legal services performed by attorneys of comparable skill, experience, and

reputation” in the community in which the litigation is situated. West, 2007 U.S.

Dist. LEXIS 43423, 6.

   To determine the hours reasonably expended, “[t]he relevant issue . . . is not

whether hindsight vindicates an attorney’s time expenditures, but whether, at the

time the work was performed, a reasonable attorney would have engaged in similar

time expenditures.” Wooldridge v. Marlene Indus. Corp., 898 F.2d 1169, 1177 (6th

Cir. 1990). Similarly, the Eighth Circuit explained in Jenkins v. Missouri that, when

calculating a fee award, the focus is on whether the time expenditures were

reasonable, not whether the attorney won each and every disputed issue:

             A court’s focus should not be limited to the success/failure of
             each of the attorney’s actions. Rather, it should be upon whether
             those actions were reasonable . . . . Lawsuits usually involve
             many reasonably disputed issues and a lawyer who takes on only

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             those battles he is certain of winning is probably not serving his
             client vigorously enough; losing is part of winning.

127 F.3d at 718 (8th Cir. 1997) (internal citations omitted). The key issue is whether

a reasonable attorney would have engaged in similar time expenditures at the time

the work was performed.

   A court should give deference to a lawyer’s professional judgment as to how

much time was necessary to spend on the case. Moreno v. City of Sacramento, 534

F.3d 1106, 1112 (9th Cir. 2008). This principle flows from the fact that an attorney

is naturally incentivized to work efficiently and reasonably in cases where the

attorney remains uncompensated for his or her time until the end of the case. See id.

(“[L]awyers are not likely to spend unnecessary time on contingency fee cases in the

hope of inflating their fees. The payoff is too uncertain, as to both the result and the

amount of the fee”). Plaintiff’s attorneys working under these circumstances expend

their time and effort without knowing whether they will be paid for it; thus, they

have an incentive to spend as little time on each particular task as is reasonably

necessary to competently and diligently carry out the representation. See id.

   In awarding fees, a district court must “provide a concise but clear explanation

of its reasons for the fee award.” See Hensley, 461 U.S. at 437; see also, Moreno,

534 F.3d at 1111 (“When the district court makes its award, it must explain how it

came up with the amount. The explanation need not be elaborate, but it must be

comprehensible.”). “Where the difference between the lawyer’s request and the

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court’s award is relatively small, a somewhat cursory explanation will suffice.”

Moreno, 534 F.3d at 1111. However, “where the disparity is larger, a more specific

articulation of the court’s reasoning is expected.” Id. (citing Bogan v. City of Boston,

489 F.3d 417, 430 (1st Cir. 2007)).

   There is a strong presumption in favor of awarding the lodestar figure. Beauford

v. ActionLink, LLC, No. 4:12-cv-139-JLH, 2014 U.S. Dist. LEXIS 5039, at *21

(E.D. Ark. Jan. 15, 2014). The presumption of the reasonableness of the lodestar

calculation “may be overcome in those rare circumstances in which the lodestar does

not adequately take into account a factor that may properly be considered in

determining a reasonable fee.” Id. at *21–22. The burden of identifying unreasonable

billing can be placed on the losing party because it has both the incentive and the

knowledge of the case to point it out. Moreno, 534 F.3d at 1116. If the losing party

“cannot come up with specific reasons for reducing the fee request that the district

court finds persuasive, it should normally grant the award in full, or with no more

than a haircut.” Id.

   Factors to consider in deciding whether to adjust the lodestar fee include:

             (1) the time and labor required; (2) the novelty and difficulty of
             the questions; (3) the skill requisite to perform the legal service
             properly; (4) the preclusion of employment by the attorney due
             to acceptance of the case; (5) the customary fee; (6) whether the
             fee is fixed or contingent; (7) time limitations imposed by the
             client or the circumstances; (8) the amount involved and the
             results obtained; (9) the experience, reputation, and ability of the
             attorneys; (10) the "undesirability" of the case; (11) the nature

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             and length of the professional relationship with the client; and
             (12) awards in similar cases.

Gay, 2006 U.S. Dist. LEXIS 76852, 7 (quoting Hensley, 461 U.S. at 430 n. 3).

These are sometimes called the Johnson factors, after Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974). “[T]he court need not

exhaustively address every factor.” Sherman v. Kasotakis, 314 F. Supp. 2d 843,

882 (N.D. Iowa 2004). Further, these factors should rarely be used to adjust the fee

because many of them are subsumed within the calculation of the lodestar. See

Blum v. Stenson, 465 U.S. 886, 898–900 (1984); Pennsylvania v. Delaware Valley

Citizens’ Council, 478 U.S. 546, 565–66 (1986) (“the lodestar figure includes

most, if not all, of the relevant factors constituting a ‘reasonable’ attorneys’ fee”);

Saizan v. Delta Concrete Prods. Co., Inc. 448 F.3d 795, 800 (5th Cir. 2006);

Beauford, 2014 U.S. Dist. LEXIS 5039 at *21–22.

   C.     Calculation of the Lodestar

   As shown on the Invoices of Plaintiff’s counsel (Exhibits 1 and 2), Plaintiff

incurred $21,211.95 in attorney’s fees in the course of litigating his claims, of

which $14,610.95 was billed by Plaintiff’s Atlanta counsel and $6,601.00 was

billed by local counsel. After exercising billing judgment to identify certain fees

that should be deducted as explained below, Plaintiff is requesting an award of

$19,372.20 in fees ($13,754.20 by Atlanta counsel and $5,618.00 by local

counsel). Moreover, the recorded hours do not include several hours of work by

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Plaintiff’s lead counsel in attempted to locate and retain local counsel, as well as

all efforts—several more hours—of work that went into the present motion and

supporting declarations. Plaintiff’s counsel’s hourly rates are reasonable and the

attorney’s fees incurred were necessary and reasonable to the prosecution of this

case. By attaching thorough, contemporaneous records of Plaintiff’s counsel’s

time, Plaintiff has submitted adequate documentation supporting the number of

hours reasonably expended in litigating this matter.

   Plaintiff’s counsel maintained detailed contemporaneous records of their time in

this case. Each task reflected in the records was necessary to the successful

resolution of this matter, and the time spent on each task was reasonable.

   Further, Plaintiff’s counsel have made reductions to their billing in “a good-faith

effort to exclude from a fee request hours that are excessive, redundant, or otherwise

unnecessary,” or simply to make billing more reasonable, and have reduced their fee

request accordingly. See Hensley, 461 U.S. at 434; Exhibit 1 at ¶ 9; Exhibit 2 at ¶ 26.

Plaintiff’s efforts to voluntarily reduce fees further support the lodestar requested.

   In sum, the lodestar amount should be awarded in full, particularly since the

Johnson factors do not support a reduction. Plaintiff’s counsel pursued Plaintiff’s

claims with prudence and efficiency. Counsel kept thorough records of their time

and obtained an excellent result. Therefore, Plaintiff’s request for attorney’s fees

should be granted in full.


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      B.     Johnson Factors

   As discussed above, courts are generally expected to award the lodestar fee.

However, in its analysis of fee awards in Hensley, the Supreme Court alluded to

many factors that a court may consider in deciding whether to adjust the lodestar fee

upward or downward. 461 U.S. at 430 n. 3. A comparison of the relevant factors to

the facts of this case support an award of the lodestar fee without adjustment.

      1.     The time and labor required for the litigation

   Counsel for Plaintiff reviewed their records of hours worked in this case and

adjusted for unproductive, excessive or redundant time entries. The time worked by

Plaintiff’s attorneys as reflected in the lodestar was reasonable and necessary to the

advancement of this litigation. Therefore, this factor is already reflected in the

lodestar and cannot be used to again reduce the lodestar requested.

      2.     The skill required to perform the legal services properly

   Attorneys for Plaintiff devote a significant part of their practice, both in terms of

time and money, to FLSA-based claims. Specialization, such as in labor and

employment law, can support a higher-than-average rate. See e.g., Autrey v. Food

Concepts Int'l, LP, No. 2:13-cv-00131, 2017 U.S. Dist. LEXIS 46693, at *14 n.5

(S.D. Ohio Mar. 29, 2017). Moreover, should the Court have any doubt as to the

complexity of issues at play in this administrative exemption case, Plaintiff would




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respectfully point the Court to the summary judgment briefing in the related Greene

action.1 This factor does not justify a downward deviation.

      3.     The customary fee.

    In determining a reasonable rate for purposes of awarding attorney’s fees,

including fees in FLSA cases, courts may consider rates awarded in other cases.

Accordingly, the case law discussed above regarding billing rates awarded in other

cases confirms the reasonableness of the rates claimed by Plaintiff’s counsel.

    Where specialized areas of the law are concerned, “the national market may

provide a reasonable hourly rate.” Baker v. John Morrell & Co., 263 F. Supp. 2d

1161, 1192 (N.D. Iowa 2003). Plaintiff’s counsel are cognizant of the fact that the

Atlanta counsel’s rates are somewhat higher than those charged in the Little Rock

market, but would urge the Court not to reduce those rates for three reasons: (1) this

was initiated as a case in the Northern District of Georgia and Plaintiff is in this

jurisdiction against his will; (2) had any other attorney handled this matter, without

the benefit of having litigated against Defendant Tyler previously, far more effort

and discovery would have been required; and (3) Defendant has retained counsel




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       Plaintiff is happy to provide the Court with the briefing from that case, but
refrains from doing so except upon request to avoid inundating the Court with
voluminous materials that may not be desired.

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from Houston, Texas to handle this matter rather than counsel from Little Rock, and

Defendant’s Houston counsel are presumably billing at their regular Houston rates.2

    Plaintiff’s attorneys are familiar with the rates charged by attorneys in their

respective jurisdictions, and the hourly rates utilized are reasonable and in line with

those rates, as well as rates previously awarded by numerous district courts. Exhibit

1 at ¶¶ 11–16; Exhibit 2 at ¶ 17–23. Therefore, neither an upward nor downward

adjustment to the lodestar would be appropriate in this case based on this factor.

       4.    Whether the fee is fixed or contingent.

    In this case, Plaintiff was represented on a contingency basis, Exhibit 1 at ¶ 4,

and the contingent nature of the fee is captured in the hourly rate requested. See Fox

v. Pittsburg State Univ., No. 2017 U.S. Dist. LEXIS 97879, at *45 (D. Kan. June 26,

2017) (recognizing that while the “contingent nature of the fee does not justify

enhancement of the lodestar after it has been calculated . . . the contingency risk

should be reflected in the lodestar in the form of a higher hourly rate for the attorney

skilled and experienced enough to overcome” the financial risk of prosecuting a case

on a contingency basis, “including delayed payment and the contingency fee

agreement”).


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        Plaintiff assumes that if this is not the case, and that Defendant’s counsel
bills at lower rates when his clients take him to other jurisdictions, Mr. McKeeby
will present the Court with his complete time and billing records for Defendant
Tyler as well as a declaration to that effect.

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   To be sure, the “contingency” fee arrangement between Plaintiff and Plaintiff’s

counsel is not a contingency fee in the traditional sense, whereby an attorney takes

a portion of the Plaintiff’s recovery. Rather, counsel for Plaintiff rely solely on the

fee-shifting provisions of the FLSA to recover their fees in this case.

   In other contingency fee arrangements, counsel’s downside is to recover nothing,

while the upside is the potential for recovery of far more than the fees actually

incurred by the attorney through the taking of a portion of the Plaintiff’s recovery.

In these arrangements, counsel’s risk and delay in receiving payment is offset by the

potential for significant recovery.

   This is not how the contingency arrangement works for Plaintiff’s counsel in this

case. Instead, Plaintiff’s counsel pursued the FLSA case without payment

throughout the litigation. If Plaintiff recover nothing, Plaintiff’s counsel recover

nothing. On the other hand, if Plaintiff receive a judgment in his favor, Plaintiff’s

counsel must then separately petition the Court to recover fees, and after an offer of

judgment—as here—must do so without payment for large amounts of additional

work. Therefore, this factor does not support a downward deviation from the

lodestar, and in fact supports an upward deviation.

      5.     The amount involved and the result obtained.

   Plaintiff successfully pursued this case and obtained a $4,500 judgment, or 82.4%

of Plaintiff’s estimate of his damages, as shown in Plaintiff’s Amended Initial


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Disclosures. Exhibit 3 hereto. Thus, Plaintiff was successful and this factor does not

support a downward deviation from the lodestar.

   The “degree of success” factor does not give district courts discretion to reduce

an award based on the amount of the judgment. See Hensley, 461 U.S. at 434–436;

Jenkins, 127 F.3d at 716. After all, an award of an attorney’s fee encourages the

vindication of congressionally identified policies and “rights that cannot be valued

solely in monetary terms.” Blanchard, 489 U.S. at 96; Fegley, 19 F.3d at 1134–35

(“Courts should not place undue emphasis on the amount of the Plaintiff’s recovery

because an award of attorney fees…encourages the vindication of congressionally

identified policies and rights” (internal quotations omitted)). Moreover, the fee-

shifting provision of the FLSA is for the benefit of the public as a whole, not just the

parties in the case. See 29 U.S.C. § 202 (stating intent to protect workers); Quaratino,

166 F.3d 422, 426 (2d Cir. 1999) (“Congress enacted fee-shifting statutes to

compensate ‘private attorneys general’ and thereby to encourage private

enforcement of civil rights statutes, to the benefit of the public as a whole.”).

   In Simpson, a case under the Equal Pay Act, the Eighth Circuit stated that it has

“explicitly rejected a ‘rule of proportionality’ in civil rights cases because tying the

attorney’s fees to the amount awarded would discourage litigants with small

amounts of damages from pursuing a civil rights claim in court.” 441 F.3d at 581;

see also Singer v. City of Waco, 2001 U.S. Dist. LEXIS 27106, at *10 (W.D. Tex.


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Nov. 13, 2001). This rule is equally applicable to the FLSA. Id. “[I]n a lawsuit

initiated under the FLSA an attorney’s failure to obtain every dollar sought on behalf

of his client does not automatically mean that the modified lodestar amount should

be reduced,” and “it is common for FLSA attorneys’ fees awards to significantly

exceed the amount the plaintiff recovers in unpaid wages.” Meesook v. Grey Canyon

Family Med., P.A., 2014 U.S. Dist. LEXIS 143081, at *4 (W.D. Tex. Oct. 8, 2014);

see also Robinson v. Nexion Health at Terrell, Inc., No. 3:12-CV-3853-L-BK, 2017

U.S. Dist. LEXIS 195906, at *20 (N.D. Tex. Nov. 1, 2017) (recognizing that courts

have “often approved fee awards that exceed damages”) (string citing cases).

Therefore, the results obtained in this litigation do not support a reduction in the

lodestar fee.

      6.        The experience, reputation, and ability of the attorneys.

   Plaintiff’s attorneys are highly experienced in FLSA-based litigation, and have

represented individual plaintiffs, as well as classes on state-wide, regional, and

national levels. Exhibit 1 at ¶¶ 2–3; Exhibit 2 at ¶ 4–14. In short, Plaintiff’s counsel

are all respected specialists in the Fair Labor Standards Act. Their experience,

reputation, and ability support the lodestar amount requested.

      7.        Awards in similar cases.

   Reasonable hourly rates for attorneys in similar cases are discussed above in

relation to the “customary fee” awarded. More relevant to this topic, fee shifting is


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most important in cases where workers cannot afford to pay an attorney’s normal

rate and the damages are too low to yield a sufficient contingent fee. See Estrella v.

P.R. Painting Corp., 596 F. Supp. 2d 723, 727 (E.D.N.Y. 2009) (FLSA fee-shifting

provision is “designed in part to secure legal representation for Plaintiff whose wage

and hour grievances were too small, in terms of expected recovery, to create a

financial incentive for qualified counsel to take such cases under conventional fee

arrangements”). Indeed, if attorney’s fees were limited by the amount of unpaid

wages, many FLSA violations in this nation would go un-vindicated because the

economics would prevent workers from obtaining counsel.

   “Given the nature of claims under the FLSA, it is not uncommon that attorney

fee requests can exceed the amount of judgment in the case by many multiples,” as

the fees awarded in wage cases demonstrate. Howe v. Hoffman-Curtis Partners Ltd.,

LLP, 215 Fed. Appx. 341, 342 (5th Cir. 2007) ($23,357.30 in damages and

$129,805.50 in attorney’s fees) (citing Fegley, 19 F.3d at 1134–1135 ($7,680 in

overtime compensation and $40,000 in attorneys’ fees.)).3 As previously discussed,



      3
             See also Lucio-Cantu v. Vela, 239 Fed. Appx. 866 (5th Cir. 2007)
(finding no abuse of discretion in award of $51,750 in attorney fees on a recovery of
$4,679, 11.06 times the damages awarded); Howe v. Hoffman-Curtis Partners Ltd.,
LLP, 215 Fed. Appx. 341, 342 (5th Cir. 2007) (affirming attorney fees of
$129,805.50 on $23,357.30 in damages, 5.5 times the damages awarded); Cox v.
Brookshire Grocery Co., 919 F.2d 354, 358 (5th Cir. 1990) (affirming an award of
$9,250 in attorney’s fees on a $1,181 judgment for overtime compensation, 7.8 times
the amount awarded); Garcia v. Tyson Foods, 2012 U.S. Dist. LEXIS 170177, 2012

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 this type of disparity between the award and fees incurred is wholly appropriate in

 wage cases. In other words, where the stakes of wage litigation are low, the

 defendant runs up the bill at its own risk.

 C.      Costs and Expenses

      Section 216(b) of the FLSA also provides for an award of costs to a prevailing

 plaintiff. 29 U.S.C. § 216(b). As a prevailing Plaintiff, Plaintiff Wright seeks

 $523.00 in costs, all of which represents filing fees and costs for process of service.

 Exhibit 1 ¶ 9 and Attachment B thereto. The amount is correct and was necessarily

 incurred, and the services giving rise to the costs were actually and necessarily

 performed. Each cost is described sufficiently to demonstrate that the cost was

 necessary. Accordingly, Plaintiff request an award of all his costs.

3.       CONCLUSION

      Plaintiff Matthew Wright prevailed on his FLSA claim and, as such, is entitled

 to an award of his reasonable fees and costs. Plaintiff respectfully request that he be

 awarded his attorney’s fees in the amount of $19,372.20 and costs in the amount of

 $523.00.




 WL 5985561 (D. Kan. Nov. 29, 2012) (awarding over $3.2 million in attorney fees
 on a jury verdict of $533,011 in a collective action, 6 times the amount awarded).

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This 28th day of December 2020,

                                   Respectfully submitted,

                                   DELONG, CALDWELL, BRIDGERS,
                                   FITZPATRICK & BENJAMIN LLC

                                   s/ Matthew W. Herrington.
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